Case: 1:19-cv-07190 Document #: 509-1 Filed: 04/29/24 Page 1 of 12 PageID #:23124




        EXHIBIT 1
Case: 1:19-cv-07190 Document #: 509-1 Filed: 04/29/24 Page 2 of 12 PageID #:23125


From:            Hinger, Cathy
To:              "Maura Grossman"
Cc:              Weaver, Kurt; Bruno, Victoria; Ames, Lela; Mervis, Michael T.; Gallagher, Katie; Baker, Jeremy;
                 audley@chapman.com; Mia D. D"Andrea; Nemith, Mike; Vinti, Baldassare; Roche, Jennifer L.; Alladi, Om V.;
                 Gordon, Amy B.
Subject:         RE: Craigville Telephone Co. et al v. T-Mobile USA, Inc. - Plaintiffs" Motion to Restore Rule 30(b)(6) Time and to
                 Compel TMUS to Reproduce Prepared Rule 30(b)(6) Witnesses on Matters 12(a) and 41
Date:            Saturday, February 24, 2024 2:48:32 PM
Attachments:     image001.png
                 image002.png
                 image003.png
                 image004.png


Dear Dr. Grossman:

The following communication is a joint email from Plaintiffs and TMUS mutually
agreed by both parties:

Plaintiffs and TMUS have met and conferred regarding several discovery matters
related to completion of deposition discovery set forth in letter motions and emails
exchanged with you between February 19 - 22, 2024. The Parties mutually intend to
present an agreed path towards completion of fact discovery and remaining
depositions that takes into account that there are outstanding motions the Special
Master will not likely be able to resolve in time for the Parties to complete deposition
discovery before March 18th. The Parties have reached the following proposed
agreements and seek your input on whether such solutions are acceptable to the
Special Master, and your guidance on implementation of them:
   1. The Parties agree Plaintiffs will take the Rule 30(b)(1) deposition of TMUS
        employee Manoj Kumar on March 21, 2024, out of time, to accommodate
        schedules of the witness and counsel.

   2. The Parties agree that, absent good cause, no other depositions will be taken
        out of time and after the March 18th close of discovery that have not already
        been noticed or disclosed by the Parties to one another. These depositions
        include:
                   i. Plaintiffs’ Rule 30(b)(1) Deposition of TMUS employee Satish
                         Pachalla (Noticed for March 1)
                  ii. Plaintiffs’ Rule 30(b)(6) Deposition of Inteliquent (Noticed for March
                         13, but the Parties acknowledge this may need to be taken out of
                         time given Plaintiffs’ pending unresolved Motion to Compel
                         against Inteliquent)
                 iii. Plaintiffs’ Rule 30(b)(1) Deposition of Inteliquent Employee John
                         Bullock (Noticed for March 14, but the Parties acknowledge this
                         may need to be taken out of time given Plaintiffs’ pending
                         unresolved Motion to Compel against Inteliquent)
                 iv. Plaintiffs’ Rule 30(b)(1) Depositions of Inteliquent Employees Tim
                         Schneberger and Mary Hocheimer (Noticed for March 15, but the
                         Parties acknowledge this may need to be taken out of time given
                         Plaintiffs’ pending unresolved Motion to Compel against
                         Inteliquent)
                  v. Plaintiffs’ Rule 30(b)(1) Deposition of TMUS Employee Manoj
                         Kumar (to be noticed for March 21, subject to Special Master
                         and/or Court approval of the agreements contained herein)
                 vi. Plaintiffs’ Deposition of Remaining TMUS 30(b)(6) Witnesses,
                         William Rowe, Rusty Huntsman, Tom Cast, and any others that
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                     may result from pending unresolved TMUS 30(b)(6) disputes (to
                     be scheduled per next agreement below)
              vii. Plaintiffs’ potential deposition of third-party intermediate provider
                     Peerless, to whom Plaintiffs recently issued a subpoena for
                     documents, and to which Peerless has not yet responded, if a
                     records custodian Declaration or any clarifying testimony cannot
                     be obtained from Peerless.
             viii. TMUS’s Rule 30(b)(1) Deposition of CTC former employee Mark
                     Roach (proposed by Plaintiffs for March 12, 13 or 14)
              ix. TMUS’s Requested Additional 30(b)(6) time with AdamsWells, to be
                     noticed if the Special Master grants TMUS’s pending motion (the
                     Parties acknowledge this may need to be taken out of time given
                     TMUS’s pending unresolved motion).
               x. Continuation of TMUS’s Rule 30(b)(6) Deposition of CTC if any
                     (depending on the Special Master’s rulings on TMUS’s revised
                     Topics 22 and 23 or any other discovery motions) (the Parties
                     acknowledge this may need to be taken out of time given the
                     timing of any such decisions by the Special Master).
              xi. TMUS’s Rule 30(b)(1) Deposition of Peoples Telecommunications,
                     LLC Employee Jennifer Leach prior to the March 18 close of
                     discovery unless the witness is unavailable before then.
              xii. TMUS’s Rule 30(b)(1) Deposition of Lakeland Communications
                     Employee Derek Ayd prior to the March 18 close of discovery
                     unless the witness is unavailable before then.

   3. The Parties agree that, absent good cause, no additional written discovery may
     be served.

   4. Plaintiffs and TMUS will both withdraw their letter briefs concerning Plaintiffs’
     Motion to Compel Mr. Kumar’s deposition.

   5. With respect to the dispute concerning Plaintiffs’ Request for Expedited
     Consideration of their Motion to Restore 30(b)(6) Time and to Compel Re-
     Designation of Witnesses in advance of upcoming depositions (“Plaintiffs’
     Motion to Restore”), the Parties agree to resolve the scheduling aspect of that
     dispute as follows:
        a. Plaintiffs will consent to TMUS’s request to file its opposition on March 8,
           and Plaintiffs will file their reply, if any, by March 12, but reserve the right
           to advise the Special Master whether they prefer to proceed to hearing
           without a reply;
        b. The Parties agree the 30(b)(6) deposition sessions for TMUS employees
           Rowe, Huntsman and Cast will be deferred until after the Special Master
           resolves Plaintiffs’ Motion to Restore 30(b)(6) Time. The Parties agree
           that these remaining 30(b)(6) depositions may be scheduled out of time if
           the Special Master is not able to resolve the dispute prior to March 18th
           and with sufficient time to schedule the remaining TMUS 30(b)(6) sessions
           thereafter. To that end, by March 1, 2024, TMUS will provide proposed
           deposition dates to Plaintiffs after March 18 and will make a good faith
           effort to propose dates that are within a 1-2 week period after March 18
           based on witness availability. If the dispute is not resolved by such
           rescheduled dates, the Parties will work together in good faith to schedule
           other dates for the depositions based on witness availability.

   6. Outstanding Motions: The Parties identified the following known discovery
Case: 1:19-cv-07190 Document #: 509-1 Filed: 04/29/24 Page 4 of 12 PageID #:23127


      motions that remain for briefing:
        a. Plaintiffs’ Motion challenging certain of TMUS’s Privilege Claims – the
           parties have agreed to submit simultaneous 5 page briefs on March 4,
           2024 with simultaneous replies of no more than 2.5 pages on March 11,
           2024.
        b. TMUS advised Plaintiffs it may file a motion to compel further
           amendments to Plaintiffs’ Initial Disclosures.
        c. The Parties reserve their rights to challenge confidentiality designations
           pursuant to the procedures allowed under the Amended Agreed
           Confidentiality Order at any time and as certain filings return to the public
           docket.

   7. The Parties reserve their rights with respect to the unresolved dispute
      concerning potential post-fact discovery depositions to address authenticity and
      admissibility foundation for documents.

   8. The Parties reserve their rights to raise any new discovery disputes which may
      arise out of any ongoing discovery.

We look forward to your guidance on the foregoing.

Best Regards,
Cathy Hinger




From: Hinger, Cathy
Sent: Thursday, February 22, 2024 2:52 PM
To: Mervis, Michael T. <MMervis@proskauer.com>; 'Maura Grossman'
<maura.grossman@uwaterloo.ca>; Gallagher, Katie <Katie.Gallagher@wbd-us.com>
Cc: Weaver, Kurt <Kurt.Weaver@wbd-us.com>; Bruno, Victoria <Victoria.Bruno@wbd-us.com>;
Ames, Lela <Lela.Ames@wbd-us.com>; Baker, Jeremy <Jeremy.Baker@wbd-us.com>;
audley@chapman.com; Mia D. D'Andrea <dandrea@chapman.com>; Nemith, Mike
<Mike.Nemith@wbd-us.com>; Vinti, Baldassare <BVinti@proskauer.com>; Roche, Jennifer L.
<jroche@proskauer.com>; Alladi, Om V. <OAlladi@proskauer.com>; Gordon, Amy B.
<AGordon@proskauer.com>
Subject: RE: Craigville Telephone Co. et al v. T-Mobile USA, Inc. - Plaintiffs' Motion to Restore Rule
30(b)(6) Time and to Compel TMUS to Reproduce Prepared Rule 30(b)(6) Witnesses on Matters
12(a) and 41

Dear Dr. Grossman,

I am writing to update you that Mr. Mervis and I have been meeting and conferring today about the
deposition disputes referenced below and are exploring ways in which we may be able to resolve
some of the disputes below. We will endeavor to advise you of such by tomorrow so that you do
Case: 1:19-cv-07190 Document #: 509-1 Filed: 04/29/24 Page 5 of 12 PageID #:23128


not unnecessarily incur time.

Best Regards,
Cathy Hinger


From: Hinger, Cathy <Cathy.Hinger@wbd-us.com>
Sent: Thursday, February 22, 2024 12:07 PM
To: Mervis, Michael T. <MMervis@proskauer.com>; 'Maura Grossman'
<maura.grossman@uwaterloo.ca>; Gallagher, Katie <Katie.Gallagher@wbd-us.com>
Cc: Weaver, Kurt <Kurt.Weaver@wbd-us.com>; Bruno, Victoria <Victoria.Bruno@wbd-us.com>;
Ames, Lela <Lela.Ames@wbd-us.com>; Baker, Jeremy <Jeremy.Baker@wbd-us.com>;
audley@chapman.com; Mia D. D'Andrea <dandrea@chapman.com>; Nemith, Mike
<Mike.Nemith@wbd-us.com>; Vinti, Baldassare <BVinti@proskauer.com>; Roche, Jennifer L.
<jroche@proskauer.com>; Alladi, Om V. <OAlladi@proskauer.com>; Gordon, Amy B.
<AGordon@proskauer.com>
Subject: RE: Craigville Telephone Co. et al v. T-Mobile USA, Inc. - Plaintiffs' Motion to Restore Rule
30(b)(6) Time and to Compel TMUS to Reproduce Prepared Rule 30(b)(6) Witnesses on Matters
12(a) and 41

Dear Dr. Grossman,

Please accept the following as Plaintiffs’ Reply to TMUS’s Opposition to Plaintiffs’
Request for Expedited Consideration of their Motion to Restore 30(b)(6) time and to
Compel Re-Designation of witnesses in advance of upcoming 30(b)(6) depositions.

Plaintiffs assert completion of their 30(b)(6) deposition of TMUS should be a high
priority. Litigation over TMUS’s 30(b)(6) deposition has been ongoing since the
Special Master took it up at the 12/4 Special Master Hearing. It is now more than 2
months later and at least 4 more sessions remain, and several other Matters are
unresolved with designees yet to be made on those topics. The main 30(b)(6)
deposition session that has occurred since the 12/4 hearing (Sukhi Nehra) resulted in
significant prejudice to Plaintiffs’ remaining time. In total, Plaintiffs have had to
manage their 7 hours of 30(b)(6) deposition of TMUS across at least 7 different
witnesses. TMUS’s suggestion that if the Court restores time after it briefs this issue
on March 8, the same day as several other 30(b)(6) sessions, Plaintiffs can use the
time thereafter does not address whether TMUS will then re-produce the same
witnesses again so we may use the restored time on the topics they were
compressed on due to the prior lack of preparation. TMUS’s standing position in this
case has been that it will only produce witnesses once. And, it would be costly to
reconvene court reporters and the same witnesses again after the Special Master
rules on whether TMUS’s witnesses were not adequately prepared. This is why
Plaintiffs seek expedited review.

To resolve this issue, and given the backlog of other motions for the Special Master to
resolve, including the motion to compel against Inteliquent which we need resolved in
order to take its depositions which Plaintiffs noticed for March 13 – 15th, Plaintiffs
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would be willing to reschedule the remaining 30(b)(6) sessions presently scheduled
for March 8th to a date to be calendared by TMUS promptly upon the Special
Master’s resolution of the Plaintiffs’ motion seeking restoration of 30(b)(6) time, if, due
to Mr. Mervis’ trial, TMUS needs until March 8th to respond. However, if TMUS takes
the position that such depositions cannot be rescheduled prior to March 18th,
Plaintiffs assert fact discovery should not be extended generally, the parties should
not be permitted to initiate new written or deposition discovery after March 18th, and
that such dates only be used out of time to accommodate TMUS’s request below for
time to accommodate its counsel’s trial schedule and upon showing of good cause by
TMUS concerning any alleged unavailability of witnesses.

Additionally, regarding TMUS’s Points below:

Point 1: Resolution of TMUS’s motion to compel damages disclosures should be
addressed after Plaintiffs’ Motion to Compel against Inteliquent and completion of the
TMUS 30(b)(6) depositions and Plaintiffs’ motion regarding the return of time. Both
sets of depositions will continue to cover fact discovery Plaintiffs seek from Inteliquent
and TMUS regarding information necessary to Plaintiffs’ development of an expert
model for class wide damages.

Point 2: TMUS exhausted its time with Plaintiff Craigville’s 30(b)(6) witness, then
asked for more time. Plaintiffs’ are approaching this from the opposite direction by
seeking to avoid exhaustion of 30(b)(6) time before hit happens, so witnesses are not
being deposed twice.

Point 3: Please note that at the January 19 hearing, neither party asked for a briefing
schedule. Rather, the Special Master sua sponte ruled that the parties follow the
same schedule set for TMUS’s motion for additional time to depose Craigville, which
is described below.

Point 4: Please note that at the January 19 hearing, TMUS asked for 10 days to
submit its motion on January 29. Plaintiffs asked for a similar amount of time – 11
days – to submit its opposition on February 9. TMUS then asked for 7 days to submit
its reply on February 16.

Plaintiffs also note that Plaintiffs have not agreed to take Satish Pachalla’s deposition
on February 29th. It is noticed for March 1 and if necessary March 4. Plaintiffs will
further address this dispute with TMUS offline.

Plaintiffs are available this afternoon or tomorrow for a scheduling conference to the
extent the Special Master may find such conversation useful, as we note we have
also Noticed the deposition of Manoj Kumar for next Tuesday and TMUS has not
changed the position conveyed by Mr. Alladi last Friday that it will not produce him on
that date, nor have they provided another date before March 18 for his individual
deposition.

Best Regards,
Case: 1:19-cv-07190 Document #: 509-1 Filed: 04/29/24 Page 7 of 12 PageID #:23130


Cathy Hinger




Cathy Hinger
She/Her
Partner
Womble Bond Dickinson (US) LLP

d: 202-857-4489                                                    2001 K Street, NW
m: 703-585-3620                                                    Suite 400 South
e: Cathy.Hinger@wbd-us.com                                         Washington, DC 20006




                                                                   womblebonddickinson.com


Signature for Hinger, Cathy




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​
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 practice law. Please see www.womblebonddickinson.com/us/legal-notice for further details.
Disclaimer for Hinger, Cathy




From: Mervis, Michael T. <MMervis@proskauer.com>
Sent: Thursday, February 22, 2024 9:49 AM
To: 'Maura Grossman' <maura.grossman@uwaterloo.ca>; Gallagher, Katie <Katie.Gallagher@wbd-
us.com>
Cc: Hinger, Cathy <Cathy.Hinger@wbd-us.com>; Weaver, Kurt <Kurt.Weaver@wbd-us.com>; Bruno,
Victoria <Victoria.Bruno@wbd-us.com>; Ames, Lela <Lela.Ames@wbd-us.com>; Baker, Jeremy
<Jeremy.Baker@wbd-us.com>; audley@chapman.com; Mia D. D'Andrea <dandrea@chapman.com>;
Nemith, Mike <Mike.Nemith@wbd-us.com>; Vinti, Baldassare <BVinti@proskauer.com>; Roche,
Jennifer L. <jroche@proskauer.com>; Alladi, Om V. <OAlladi@proskauer.com>; Gordon, Amy B.
<AGordon@proskauer.com>
Subject: RE: Craigville Telephone Co. et al v. T-Mobile USA, Inc. - Plaintiffs' Motion to Restore Rule
30(b)(6) Time and to Compel TMUS to Reproduce Prepared Rule 30(b)(6) Witnesses on Matters
12(a) and 41



Dr. Grossman – Plaintiffs seek expedited consideration of their latest motion, which asks you
to rule they are entitled to more time to for their 30(b)(6) deposition because, allegedly, two T-
Mobile witnesses were unprepared on certain matters. The reason given for expedition is that
several depositions on 30(b)(6) topics are upcoming (they are scheduled for February 29 and
March 1, 8, and 15) and plaintiffs want to know how much time they have left to use.
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The request for expedition presupposes that the motion has merit, which is something you will
only determine after full briefing (T-Mobile believes the motion lacks merit). In any case, if
plaintiffs prevail in whole or in part, they can use any restored time as they wish. They have
no pressing need for a ruling prior to the upcoming depositions. In short, there is no exigency
that requires expedited treatment.

In fact, there are four T-Mobile motions currently pending before you for consideration, all of
which have been fully briefed and all of which T-Mobile considers to be very important,
especially given the upcoming discovery cut-off. They are:

   1. Motion to Compel Rule 26(a)(1)(A)(iii) Damages Information
        1. Briefing was initially completed on June 30, 2023. However, on January 10,
             2024, T-Mobile filed a supplemental brief informing the Special Master of new
             information which contradicted plaintiffs’ representations in their opposition.
              Plaintiffs requested and received over a month to respond, and briefing was
             completed on February 13, 2023.
          2. When plaintiffs requested a month to respond, TMUS agreed but asked
             that the Special Master prioritize resolution of this motion once she had
             completed any task she was already working on. See attached email
             thread.
   2. Motion to Compel Additional Testimony on Rule 30(b)(6) Topic 7
          1. Briefing was completed on February 2, 2024.
   3. Motion to Compel Plaintiffs to Designate a Witness to Testify about Topics 8(b), 18, 19,
      21, 22
          1. Briefing was completed on October 13, 2023. Hearing was held on January 19,
             2024. Based on the Special Master’s ruling, T-Mobile submitted revised Topics
             21 and 22 and briefing on those topics was completed on February 16, 2024.
             Plaintiffs requested and received 11 days to respond.
   4. Motion for Additional Time to Complete its 30(b)(6) Deposition of Plaintiff Craigville
          1. Briefing was completed on February 16, 2024. Plaintiffs requested and received
             11 days to respond.

Additionally, just as plaintiffs’ counsel told you several times last week that they were very
busy (see attached), we are too. I am preparing (or at least trying to prepare) for a trial
commencing March 4. In the next two weeks we have the following in this case:

February 29 and March 1: Deposition of TMUS Employee Satish Pachalla (30(b)((6) and
30(b)(1))
March 4: [Tentatively agreed upon with plaintiffs] Opening brief regarding plaintiffs’
challenges to certain of TMUS’s privilege log entries
March 8: Deposition of TMUS Employee Rusty Huntsman (30(b)((6))
March 8: Deposition of TMUS Employee William Rowe (30(b)((6))
March 11: [Tentatively agreed upon with plaintiffs] Reply brief regarding plaintiffs’
challenges to certain of TMUS’s privilege log entries
March 15: Deposition of TMUS Employee Tom Cast (30(b)((6))
March 15: TMUS’s written responses and objections to plaintiffs’ Fourth RFPs

In light of the foregoing, T-Mobile respectfully requests that its opposition to plaintiffs’ latest
Case: 1:19-cv-07190 Document #: 509-1 Filed: 04/29/24 Page 9 of 12 PageID #:23132


motion be due on March 8.

Thank you for your consideration.

Michael T. Mervis
Member of the Firm

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greenspaces
Please consider the environment before printing this email.




From: Maura Grossman <maura.grossman@uwaterloo.ca>
Sent: Wednesday, February 21, 2024 4:31 PM
To: Mervis, Michael T. <MMervis@proskauer.com>; 'Gallagher, Katie' <Katie.Gallagher@wbd-
us.com>
Cc: Hinger, Cathy <Cathy.Hinger@wbd-us.com>; Weaver, Kurt <Kurt.Weaver@wbd-us.com>; Bruno,
Victoria <Victoria.Bruno@wbd-us.com>; Ames, Lela <Lela.Ames@wbd-us.com>; Baker, Jeremy
<Jeremy.Baker@wbd-us.com>; audley@chapman.com; Mia D. D'Andrea <dandrea@chapman.com>;
Nemith, Mike <Mike.Nemith@wbd-us.com>; Vinti, Baldassare <BVinti@proskauer.com>; Roche,
Jennifer L. <jroche@proskauer.com>; Alladi, Om V. <OAlladi@proskauer.com>; Gordon, Amy B.
<AGordon@proskauer.com>
Subject: RE: Craigville Telephone Co. et al v. T-Mobile USA, Inc. - Plaintiffs' Motion to Restore Rule
30(b)(6) Time and to Compel TMUS to Reproduce Prepared Rule 30(b)(6) Witnesses on Matters
12(a) and 41

This email sent by maura.grossman@uwaterloo.ca originated from outside the Firm.

OK, thank you.

From: Mervis, Michael T. <MMervis@proskauer.com>
Sent: Wednesday, February 21, 2024 3:08 PM
To: 'Gallagher, Katie' <Katie.Gallagher@wbd-us.com>; Maura Grossman
<maura.grossman@uwaterloo.ca>
Cc: Hinger, Cathy <Cathy.Hinger@wbd-us.com>; Weaver, Kurt <Kurt.Weaver@wbd-us.com>; Bruno,
Victoria <Victoria.Bruno@wbd-us.com>; Ames, Lela <Lela.Ames@wbd-us.com>; Baker, Jeremy
<Jeremy.Baker@wbd-us.com>; audley@chapman.com; Mia D. D'Andrea <dandrea@chapman.com>;
Case: 1:19-cv-07190 Document #: 509-1 Filed: 04/29/24 Page 10 of 12 PageID #:23133


Nemith, Mike <Mike.Nemith@wbd-us.com>; Vinti, Baldassare <BVinti@proskauer.com>; Roche,
Jennifer L. <jroche@proskauer.com>; Alladi, Om V. <OAlladi@proskauer.com>; Gordon, Amy B.
<AGordon@proskauer.com>
Subject: RE: Craigville Telephone Co. et al v. T-Mobile USA, Inc. - Plaintiffs' Motion to Restore Rule
30(b)(6) Time and to Compel TMUS to Reproduce Prepared Rule 30(b)(6) Witnesses on Matters
12(a) and 41

Dr. Grossman – Our team is tied up on several pressing matters today, including preparing a
response to plaintiffs’ letter regarding Mr. Kumar. We respectfully request that you permit us an
opportunity to respond to plaintiffs’ request for expedition before setting a briefing schedule. We
will provide our response and a proposal regarding a schedule by no later than tomorrow morning.

Thank you.

Michael T. Mervis
Member of the Firm
Litigation Department Vice Chair
Commercial Litigation Group Head

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From: Gallagher, Katie <Katie.Gallagher@wbd-us.com>
Sent: Wednesday, February 21, 2024 2:29 PM
To: Maura Grossman <maura.grossman@uwaterloo.ca>
Cc: Hinger, Cathy <Cathy.Hinger@wbd-us.com>; Weaver, Kurt <Kurt.Weaver@wbd-us.com>; Bruno,
Victoria <Victoria.Bruno@wbd-us.com>; Ames, Lela <Lela.Ames@wbd-us.com>; Baker, Jeremy
<Jeremy.Baker@wbd-us.com>; audley@chapman.com; Mia D. D'Andrea <dandrea@chapman.com>;
Nemith, Mike <Mike.Nemith@wbd-us.com>; Vinti, Baldassare <BVinti@proskauer.com>; Mervis,
Michael T. <MMervis@proskauer.com>; Roche, Jennifer L. <jroche@proskauer.com>; Alladi, Om V.
<OAlladi@proskauer.com>; Gordon, Amy B. <AGordon@proskauer.com>
Subject: Craigville Telephone Co. et al v. T-Mobile USA, Inc. - Plaintiffs' Motion to Restore Rule 30(b)
(6) Time and to Compel TMUS to Reproduce Prepared Rule 30(b)(6) Witnesses on Matters 12(a) and
41

This email sent by katie.gallagher@wbd-us.com originated from outside the Firm.

Dear Dr. Grossman,

Please find attached Plaintiffs’ Letter Brief In Support of their Motion to Restore All of Plaintiffs’ Time
Case: 1:19-cv-07190 Document #: 509-1 Filed: 04/29/24 Page 11 of 12 PageID #:23134


Spent on Rule 30(b)(6) Questioning of TMUS’s Witness Who Was Not Prepared on Matters 12(a) and
41, and to Compel TMUS to Reproduce Prepared Rule 30(b)(6) Witness on Matters 12(a) and 41,
supporting exhibits cited in Plaintiffs’ Letter Brief, and appendix of cases cited in Plaintiffs’ Letter
Brief. The cases are saved as a combined PDF document with bookmarks to each individual case.

As indicated in our Letter Brief, Plaintiffs are respectfully requesting expedited consideration of this
Motion because there are remaining 30(b)(6) Matters on which TMUS has designated four different
witnesses, and Plaintiffs need to know how much time they have remaining in total to allocate fairly
across the remaining witnesses. From our meet and confers, Plaintiffs understand that TMUS does
not agree with Plaintiffs’ request for expedited consideration and thus the parties have not agreed
to a briefing schedule.

We will also be sending you hard copies of these materials via FedEx. Should you have any
questions, or have any issues accessing the documents, please do not hesitate to contact us.

Best Regards,

Katie Gallagher


Katie Gallagher
She/Her
Of Counsel
Womble Bond Dickinson (US) LLP

d: 202-857-4451                                                    2001 K Street, NW
m: 301-520-2878                                                    Suite 400 South
e: Katie.Gallagher@wbd-us.com                                      Washington, DC 20006




                                                                   womblebonddickinson.com


Signature for Gallagher, Katie




​
​




​
​
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Case: 1:19-cv-07190 Document #: 509-1 Filed: 04/29/24 Page 12 of 12 PageID #:23135


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